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UNITED STATES DISTRICT COURT S°u""em ,E…l O'f"exa.¢
SOUTHERN DISTRICT OF TEXAS , _‘ n
McALLEN DIVISION JUL l 'r’r 2917
D@~WG J. Brad!ey. C!erk
UNITED STATES OF AMERICA §
§ M
v. § Criminal No. _ _
§ 17 l 14 0
OMAR ESPERICUETA §
OSCAR ELIZONDO §
SEALED INDICTMENT
THE GRAND JURY CHARGES:
At all times material to this Indictment:
GENERAL ALLEGATIONS
l. Blue Cross and Blue Shield of Texas (“BCBS”), a division of Health Care Service

Corporation, was a private health care insurance provider that provided insurance contracts and
plans, affecting commerce, under which medical benefits, items, and Services were provided to
insured individuals

2. BCBS had two general business segments, fully-insured and self-insured. Fully-
insured policies relate to businesses, government entities or individuals where BCBS receives
premiums and then funds all covered services. Self-insured policies relate to businesses or
government entities where BCBS is paid a fee to allow the employer to utilize BCBS networks
and for BCBS to process and initially pay their employee and dependent claims, but subsequently
reimburse BCBS for the actual amount paid to the provider for each claim.

3. BCBS contracted with an entity called Prime Therapeutics to process prescription
drug related claims. ln practice, a pharmacy in the BCBS network submitted claims for

prescription drugs for BCBS beneficiaries to Prime Therapeutics for processing and approval lf

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the claim was approved, Prime Therapeutics notified BCBS of the amount to be paid to the
pharmacy. BCBS then sent the funds to Prime Therapeutics, who in turn remitted payment to the
pharmacy.

4. BCBS was a “health care benefit program” as defined by Title 18, United States
Code, Section 24(b).

DEFENDANTS

5. Defendant OMAR ESPERICUETA, a resident of Hidalgo County, Texas, is the
owner and operator of Penitas Family Pharmacy, also known as Riverside Pharmacy, located in
Penitas, Texas (“Penitas Pharmacy”).

6. Defendant OSCAR ELIZONDO, a resident of Hidalgo County, Texas, worked as
a marketer for Penitas Pharmacy.

COUNT ONE
CONSPIRACY TO COMMlT HEALTH CARE FRAUD
(18 U.S.C. §§ 1347, 1349)

7. The Grand Jury incorporates by reference paragraphs l through 6 as though fully
restated and re-alleged herein.

8. From in or about August ZOl 5 to in or about January 2016, in the Southern District
of Texas and elsewhere within the jurisdiction of the Court, defendants,

OMAR ESPERICUETA
and
OSCAR ELIZONDO
did conspire and agree with other persons known and unknown to the Grand Jury, to knowingly
and willfully, in violation of Title 18, United States Code, Section 1347, execute a scheme and

artifice to defraud the health care benefit program known as BCBS, by false or fraudulent

pretenses, representations, or promises, any of the money and or property owned by or under the

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control of said health care benefit program in connection with the delivery of or payment for health
care benefits, items, and medical services
OBJECT OF CONSPIRACY

9. The object and purpose of the conspiracy and scheme was for OMAR
ESPERICUETA and OSCAR ELIZONDO to unlawfully enrich themselves and others by
submitting or causing others to submit false and fraudulent claims to BCBS for prescription pain
patches and scar creams that were not medically necessary, were fraudulently authorized by a
physician, not authorized by a physician, and/or not delivered to the beneficiary

MANNER AND MEANS

lO. ln order to execute and carry out their illegal activities, defendants OMAR
ESPERICUETA and OSCAR ELIZONDO conspired, between themselves and with others, known
and unknown to the Grand Jury, and committed, aided and abetted the commission, or otherwise
caused others to commit, one or more of the following acts:

a) Due to the high reimbursement rate paid by BCBS for pain patches and scar
creams, defendants and their co-conspirators targeted entities and employers
throughout the Rio Grande Valley that provide employee health insurance through
BCBS, such as the City of Mission, City of Pharr, Frontera Produce, and Point
lsabel Independent School District (collectively the “lnsured Entities”).

b) Defendants utilized marketers and contacts at the lnsured Entities to approach and
inform target employees that if they provided their insurance information, they
could get “free” pain patches and scar creams with no co-pay.

c) Organized dinners at which employees of the lnsured Entities were given free
meals and drinks to entice them to provide their insurance information in exchange
for “free” pain patches and scar creams with no co-pay.

d) Paid kickbacks to Dr. Pedro Garcia in the form of cash, loans, and prescription
medication in exchange for writing fraudulent prescriptions for pain patches and
scar creams.

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e) Set up a temporary doctor’s office for Dr. Pedro Garcia in a vacant building near
the restaurant where employees were recruited for the purpose of writing
fraudulent prescriptions for pain patches and scar creams for employees of lnsured

Entities.

f) Utilized a recreational vehicle (“RV”) as a temporary mobile doctor’s office for
Dr. Pedro Garcia for the purpose of writing fraudulent prescriptions for pain
patches and scar creams for employees of lnsured Entities. The RV was parked
in the parking lot outside the restaurants where employees were recruited
Throughout the dinner, employees were directed to the RV where Dr. Pedro Garcia

wrote fraudulent prescriptions for pain patches and scar creams.

g) Delivered prescription pain patches and scar creams to patients before the patient

saw a doctor or received a prescription

h) Billed BCBS for pain patches and scar creams that were not delivered to patients.

i) Used the identity and insurance information of patients to submit fraudulent claims

to BCBS without the authorization or consent of the patient.

j) Created fictitious documentation purporting to document collection of co-pays by

patients, when in fact the required co-pay was not collected

k) ln connection with the fraudulent scheme, submitted fraudulent claims to BCBS

totaling $1,794,969.

All in violation of Title lS, United States Code, Sections 1347 and 1349.

COUNTS TWO THROUGH EIGHT
HEALTH CARE FRAUD
(18 U.S.C. § 1347)

l l. The Grand Jury incorporates by reference paragraphs l through 6 and paragraph l()

as though fully restated and re-alleged herein.

12. From in or about August 2015 to in or about January 2016, in the Southem District

of Texas and elsewhere within the jurisdiction of the Court, the exact dates being unknown to the

Grand Jury, defendant,

OMAR ESPERICUETA

did knowingly and willfully execute or attempt to execute a scheme or artifice to defraud the health

care benefit program known as BCBS, or to obtain by false or fraudulent pretenses,

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representations, or promises, any of the money or property owned by, or under the custody or
control of the health care benefit program known as BCBS, in connection with the delivery of, or
payment for, health care benefits, items, or services. The defendant submitted, and aided, abetted,

counseled, commanded, induced, procured or otherwise facilitated and caused others or attempted

to cause others to submit, false and fraudulent claims to BCBS:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count Patient Patient Date Claim Amount Billed Reason Claim was Fraudulent
Initials Birth Year Submitted
(on or about)
Fraudulent prescription, patient
never saw a doctor, patient did not
2 M'A' 1966 9/4/15 $2’758'28 receive pain patches billed to
BCBS.
Fraudulent prescription, patient
3 J.G. 1960 9/18/15 $2,758.28 received pain patches before
seeing a doctor.
Fraudulent prescription, patient
4 P.l\/l. 1966 9/23/15 $2,758.28 never saw a doctor.
Fraudulent prescription, patient
5 J.R. 1957 9/18/15 $2,758.28 received pain patches before
seeing a doctor.
Fraudulent prescription, patient
6 C.O. 1982 8/20/15 $2,758.28 did not receive pain patches billed
to BCBS.
Fraudulent prescription, patient
7 R.Y. 1969 8/25/15 $2,758.28 did not receive pain patches billed
to BCBS.
Fraudulent prescription, patient
8 C.S. 1988 8/27/15 $2,758.28 did not receive pain patches billed
to BCBS.

 

All in violation of Title 18, United States Code, Sections 1347 and 2.

13.

The Grand Jury incorporates by reference paragraphs 1 through 6 and paragraph 10

CoUNTs NINE THROUGH TWELVE
AGGRAVATED IDENTITY THEFT
(18 .s.C. § 1028A)

as though fully restated and re-alleged herein.

 

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14. From in or about August 2015 to in or about January 2016, in the Southem District
of Texas and elsewhere within the jurisdiction of the Court, the exact dates being unknown to the
Grand Jury, defendant,

OMAR ESPERICUETA
during and in relation to a felony violation of Title 18, United States Code, Section 1347, Health
Care Fraud, did knowingly transfer, possess, or use or cause others to transfer, possess, or use,

without lawful authority, a means of identification of another person:

 

 

Count Patient Patient Date Claim Means of ID Used Without
Initials Birth Submitted Lawful Authority
Year (0n or about)
9 M-A. 1966 9/4/]5 Patient s name, date of birth, and

insurance identification numbers

 

Patient’s name, date of birth, and

 

 

10 C'O` 1982 8/20/] 5 insurance identification numbers

ll R_Y' 1969 8/25/]5 f’atient s namez date of birth, and
insurance identification numbers

12 C_S_ 1988 8/27/15 Patient s name, date of birth, and

insurance identification numbers

 

 

 

 

 

 

 

All in violation of Title 18, United States Codes, Sections 1028A and 2.
COUNTS THIRTEEN AND FOURTEEN
HEALTH CARE FRAUD
(18 U.S.C. § 1347)
15. The Grand Jury incorporates by reference paragraphs 1 through 6 and paragraph 10
as though fully restated and re-alleged herein.
16. From in or about August 2015 to in or about January 2016, in the Southem District

of Texas and elsewhere within the jurisdiction of the Court, the exact dates being unknown to the

Grand Jury, defendants,

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OMAR ESPERICUETA
and
OSCAR ELIZONDO
did knowingly and willfully execute or attempt to execute a scheme or artifice to defraud the health
care benefit program known as BCBS, or to obtain by false or fraudulent pretenses,
representations, or promises, any of the money or property owned by, or under the custody or
control of the health care benefit program known as BCBS, in connection with the delivery of, or
payment for, health care benefits, items, or services The defendants submitted, and aided,

abetted, counseled, commanded, induced, procured or otherwise facilitated and caused others or

attempted to cause others to submit, false and fraudulent claims to BCBS, for:

 

Count Patient Patient Date Claim Amount Billed Reason Claim was Fraudulent
Initials Birth Year Submitted
(0n or about)

 

Fraudulent prescription, patient
never saw a doctor, patient refused

13 D.G. 1965 8/18/15 $2,758.28 pain patches, patient did not
authorize submission of claim to
BCBS,

 

Fraudulent prescription, patient
never saw a doctor, patient did not
receive pain patches billed to
BCBS.

14 F.V. 1975 8/27/15 $2,758.28

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1347 and 2.
COUNTS FIFTEEN AND SlXTEEN
AGGRAVATED IDENTITY THEFT
(19 .S.C. § 1028A)
17. The Grand Jury incorporates by reference paragraphs 1 through 6 and paragraph 10
as though fully restated and re-alleged herein.
18. From in or about August 2015 to in or about January 2016, in the Southem District

of Texas and elsewhere within the jurisdiction of the Court, the exact dates being unknown to the

Grand Jury, defendants,

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OMAR ESPERICUETA
and
OSCAR ELIZONDO
during and in relation to a felony violation of Title 18, United States Code, Section 1347, Health

Care Fraud, did knowingly transfer, possess, or use or cause others to transfer, possess, or use,

without lawful authority, a means of identification of another person:

 

Count Patient Patient Date Claim Means of lD Used Without
Initials Birth Submitted Lawful Authority
Year (0n or about)

 

Paticnt’s name, date of birth, and

15 D`G` 1965 8/18/15 insurance identification numbers

 

Patient’s name, date of birth, and

16 F`V' 1975 8/27/15 insurance identification numbers

 

 

 

 

 

 

 

All in violation of Title 18, United States Codes, Sections 1028A and 2.
NOTICE OF FORFEITURE
(18 U.S.C. § 982(a)(7))

19. Pursuant to Title 18, United States Code, Section 982(a)(7), as a result of the
criminal offenses charged in Counts 1 through 8, 16 and 17 of this lndictment, the United States
of America gives the defendants,

OMAR ESPERICUETA

and
OSCAR ELIZONDO

notice that upon the conviction for a health care offense, all property, real or personal, which
constitutes or is derived, directly or indirectly, from gross proceeds traceable to such offense, is

subject to forfeiture

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Money Judgment

20. The defendants are notified that upon conviction, a money judgment may be
imposed equal to the total value of the property subject to forfeiture, which is in the amount of at
least $l ,488,569, the amount paid by BCBS based on the fraudulent claims.

Substitute Assets

21. The defendants are notified that in the event that property subject to forfeiture, as a
result of any act or omission of a defendant,

(A) cannot be located upon the exercise of due diligence;

(B) has been transferred or sold to, or deposited with, a third party;

(C) has been placed beyond the jurisdiction of the court;

(D) has been substantially diminished in value; or

(E) has been commingled with other property that cannot be divided without
difficulty,

the United States will seek to forfeit any other property of the defendants up to the total value of
the property subject to forfeiture, pursuant to Title 21, United States Code, Section 853(p),

incorporated by reference in Title 18, United States Code, Section 982(b)(1).

 

A TRUE BILL

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ABE MARTINEZ
ACTING UNITED STATES ATTORNEY

M/YM

ANDREW R SWARTZV
ASSISTANT UNITED STATES ATTORNEY

